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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

UNITED STATES OLYMPIC AND PARALYMPIC
COMMITTEE,
                                                            Civil Action No.: 1:24-cv-08526
       Plaintiff,

v.

THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.

                                         COMPLAINT

       Plaintiff, United States Olympic and Paralympic Committee (the “USOPC” or “Plaintiff”),

hereby files this Complaint against the Partnerships and Unincorporated Associations identified

on Schedule A attached hereto (collectively, “Defendants”), and hereby alleges as follows:

                                JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the Ted Stevens Olympic and Amateur Sports Act, 36 U.S.C. § 220506(a) (the “Ted

Stevens Act”), the provisions of the Lanham Act, 15 U.S.C. § 1051 et seq., 28 U.S.C. § 1338(a)–

(b), and 28 U.S.C. § 1331.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets consumers in the United States, including Illinois, through at least the fully interactive

commercial internet stores operating under the Defendant Internet Stores and/or the online

marketplace accounts identified in Schedule A attached hereto (collectively, the “Defendant

Internet Stores”). Specifically, Defendants are reaching out to do business with Illinois residents




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by operating one or more commercial, interactive internet stores through which Illinois residents

can purchase products bearing counterfeit versions of Plaintiff’s trademarks. Each of the

Defendants has targeted sales from Illinois residents by operating internet stores that offer shipping

to the United States, including Illinois, accept payment in U.S. dollars and, on information and

belief, have sold products bearing counterfeit versions of Plaintiff’s federally registered

trademarks to residents of Illinois. Each of the Defendants is committing tortious acts in Illinois,

is engaging in interstate commerce, and has wrongfully caused Plaintiff substantial injury in the

State of Illinois.

                                        INTRODUCTION

        3.      This action has been filed by Plaintiff to combat online counterfeiters who trade upon

Plaintiff’s reputation and goodwill by selling and/or offering for sale products in connection with

Plaintiff’s Olympic Trademarks, which are covered by U.S. Trademark Registration Nos. 968,566;

2,455,565; 2,774,352; 2,777,890; 3,848,800; 4,368,709; 4,368,710; 4,368,711; 4,368,713;

4,368,714; 4,372,689; 4,662,320; 4,841,553; 4,867,243; 4,867,244; 5,216,935; 5,743,425;

5,802,984; 6,050,531; and 6,383,408 (collectively the “Olympic Trademarks”). The registrations

are valid, subsisting, unrevoked, and uncancelled. The registrations for the trademarks constitute

prima facie evidence of validity and of Plaintiff’s exclusive right to use the trademarks pursuant

to the Ted Stevens Olympic and Amateur Sports Act, 36 U.S.C. § 220506(a), and 15 U.S.C. §

1057(b). Genuine and authentic copies of the U.S. federal trademark registration certificates for

the Olympic Trademarks are attached as Exhibit 1. In addition to Plaintiff’s registered trademarks,

Congress granted the USOPC the exclusive right to use and control the use of Olympic

terminology and imagery within the United States. See The Ted Stevens Olympic and Amateur

Sports Act, 36 U.S.C. § 220506(a).




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       4.      In the past, Plaintiff was able to police its marks against identifiable infringers and

counterfeiters. The rise of online retailing, coupled with the ability of eCommerce sites to hide

their identities, has made it nearly impossible for policing actions to be undertaken. The aggregated

effect of the mass counterfeiting that is taking place has overwhelmed Plaintiff and its ability to

police its rights against the hundreds of anonymous defendants which are selling illegal

counterfeits at prices substantially below an original:

                                            ORIGINAL




https://shop3.olympics.com/en/olympic-collection/x-3079

                                         COUNTERFEIT




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       5.      The above example evidences a cooperative counterfeiting network using fake

eCommerce storefronts designed to appear to be selling authorized products. To be able to offer the

counterfeit products at a price substantially below the cost of the original, while still being able to

turn a profit after absorbing the cost of manufacturing, advertising, and shipping, requires an

economy of scale only achievable through a cooperative effort throughout the supply chain. As

Homeland Security’s recent report confirms, counterfeiters act in concert through coordinated supply

chains and distribution networks to unfairly compete with legitimate brand owners while generating

huge profits for the illegal counterfeiting network:

       Historically, many counterfeits were distributed through swap meets and individual
       sellers located on street corners. Today, counterfeits are being trafficked
       through vast e-commerce supply chains in concert with marketing, sales, and
       distribution networks. The ability of e-commerce platforms to aggregate
       information and reduce transportation and search costs for consumers provides a
       big advantage over brick-and-mortar retailers. Because of this, sellers on digital
       platforms have consumer visibility well beyond the seller’s natural geographical
       sales area.
                                               ...
       The impact of counterfeit and pirated goods is broader than just unfair competition.
       Law enforcement officials have uncovered intricate links between the sale of
       counterfeit goods and transnational organized crime. A study by the Better
       Business Bureau notes that the financial operations supporting counterfeit
       goods typically require central coordination, making these activities attractive
       for organized crime, with groups such as the Mafia and the Japanese Yakuza
       heavily involved. Criminal organizations use coerced and child labor to


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       manufacture and sell counterfeit goods. In some cases, the proceeds from
       counterfeit sales may be supporting terrorism and dictatorships throughout the
       world.
                                                ...
       Selling counterfeit and pirated goods through e-commerce is a highly profitable
       activity: production costs are low, millions of potential customers are available
       online, transactions are convenient, and listing on well-branded e-commerce
       platforms provides an air of legitimacy.

See Department of Homeland Security, Combating Trafficking in Counterfeit and Pirated Goods,
Jan. 24, 2020, (https://www.dhs.gov/publication/combating-trafficking-counterfeit-and-pirated-
goods), at 10, 19 (emphasis added) attached hereto as Exhibit 2.

       6.      The Defendant Internet Stores share unique identifiers, such as design elements and

similarities of the unauthorized products offered for sale, establishing a logical relationship between

them and suggesting that Defendants’ illegal operations arise out of the same transaction, occurrence,

or series of transactions or occurrences. Defendants use aliases to avoid liability by going to great

lengths to conceal both their identities as well as the full scope and interworking of their illegal

network. Despite deterrents such as takedowns and other measures, the use of aliases enables

counterfeiters to stymie authorities:

       The scale of counterfeit activity online is evidenced as well by the significant efforts
       e-commerce platforms themselves have had to undertake. A major e-commerce
       platform reports that its proactive efforts prevented over 1 million suspected bad
       actors from publishing a single product for sale through its platform and blocked
       over 3 billion suspected counterfeit listings from being published to their
       marketplace. Despite efforts such as these, private sector actions have not been
       sufficient to prevent the importation and sale of a wide variety and large volume of
       counterfeit and pirated goods to the American public.
                                                  ...
       A counterfeiter seeking to distribute fake products will typically set up one or more
       accounts on online third-party marketplaces. The ability to rapidly proliferate third-
       party online marketplaces greatly complicates enforcement efforts, especially for
       intellectual property rights holders. Rapid proliferation also allows counterfeiters
       to hop from one profile to the next even if the original site is taken down or blocked.
       On these sites, online counterfeiters can misrepresent products by posting pictures
       of authentic goods while simultaneously selling and shipping counterfeit versions.
                                                  ...
       Not only can counterfeiters set up their virtual storefronts quickly and easily, but
       they can also set up new virtual storefronts when their existing storefronts are shut



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        down by either law enforcement or through voluntary initiatives set up by other
        stakeholders such as market platforms, advertisers, or payment processors.

Id. at 5, 11, 12.

        7.      eCommerce giant Alibaba has also made public its efforts to control counterfeiting

on its platform. It formed a special task force that worked in conjunction with Chinese authorities

for a boots-on-the-ground effort in China to stamp out counterfeiters. In describing the counterfeiting

networks it uncovered, Alibaba expressed its frustration in dealing with “vendors, affiliated dealers

and factories” that rely upon fictitious identities that enable counterfeiting rings to play whack-a-

mole with authorities:




See Xinhua, Fighting China’s Counterfeits in the Online Era, China Daily (Sept. 19, 2017), available
at www.chinadaily.com.cn/business/2017-09/19/content_32200290.htm (Exhibit 3)




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       8.      Plaintiff has been and continues to be irreparably damaged through consumer

confusion, dilution, loss of control over its reputation and goodwill, as well as loss of control over

the quality of goods bearing the Olympic Trademarks. The rise of eCommerce as a method of

supplying goods to the public exposes brand holders and creators that make significant investments

in its products to significant harm from counterfeiters:

       Counterfeiting is no longer confined to street-corners and flea markets. The
       problem has intensified to staggering levels, as shown by a recent Organisation for
       Economic Cooperation and Development (OECD) report, which details a 154
       percent increase in counterfeits traded internationally — from $200 billion in 2005
       to $509 billion in 2016. Similar information collected by the U.S. Department of
       Homeland Security (DHS) between 2000 and 2018 shows that seizures of
       infringing goods at U.S. borders have increased 10-fold, from 3,244 seizures per
       year to 33,810.
                                                  …
       The rise in consumer use of third-party marketplaces significantly increases the
       risks and uncertainty for U.S. producers when creating new products. It is no longer
       enough for a small business to develop a product with significant local consumer
       demand and then use that revenue to grow the business regionally, nationally, and
       internationally with the brand protection efforts expanding in step. Instead, with the
       international scope of e-commerce platforms, once a small business exposes itself
       to the benefits of placing products online — which creates a geographic scope far
       greater than its more limited brand protection efforts can handle — it begins to face
       increased foreign infringement threat.
                                                 ...
       Moreover, as costs to enter the online market have come down, such market entry
       is happening earlier and earlier in the product cycle, further enhancing risk. If a new
       product is a success, counterfeiters will attempt, often immediately, to outcompete
       the original seller with lower-cost counterfeit and pirated versions while avoiding
       the initial investment into research and design.
                                                 ...
       Counterfeiters have taken full advantage of the aura of authenticity and trust that
       online platforms provide. While e-commerce has supported the launch of thousands
       of legitimate businesses, their models have also enabled counterfeiters to easily
       establish attractive “store-fronts” to compete with legitimate businesses.

See Combating Trafficking in Counterfeit and Pirated Goods, Jan. 24, 2020, (Exhibit 2)
at 4, 8, 11.

       9.      Not only are the creators and brand holders harmed, but the public is harmed as well:




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        The rapid growth of e-commerce has revolutionized the way goods are bought and
        sold, allowing for counterfeit and pirated goods to flood our borders and penetrate
        our communities and homes. Illicit goods trafficked to American consumers by e-
        commerce platforms and online third-party marketplaces threaten public health and
        safety, as well as national security. This illicit activity impacts American innovation
        and erodes the competitiveness of U.S. manufacturers and workers.
        The President’s historic memorandum provides a much warranted and long overdue
        call to action in the U.S. Government’s fight against a massive form of illicit trade
        that is inflicting significant harm on American consumers and businesses. This
        illicit trade must be stopped in its tracks.

Id. at 3, 4. (Underlining in original).

        10.     Plaintiff’s investigation shows that the telltale signs of an illegal counterfeiting ring

are present in the instant action. For example, Schedule A shows the use of store names by the

Defendant Internet Stores that employ no normal business nomenclature and, instead, have the

appearance of being made up, or, if a company that appears to be legitimate is used, online research

shows that there is no known address for the company. Thus, the Defendant Internet Stores are

using fake online storefronts designed to appear to be selling genuine Plaintiff’s products, while

selling inferior imitations of Plaintiff’s products. The Defendant Internet Stores also share unique

identifiers, such as design elements and similarities of the counterfeit products offered for sale,

establishing a logical relationship between them and suggesting that Defendants’ illegal operations

arise out of the same transaction, occurrence, or series of transactions or occurrences. Defendants

attempt to avoid liability by going to great lengths to conceal both their identities and the full scope

and interworking of their illegal counterfeiting operation. Plaintiff is forced to file this action to

combat Defendants’ counterfeiting of Plaintiff’s registered trademarks, as well as to protect

unknowing consumers from purchasing unauthorized Olympics Products over the internet.

        11.     This Court has personal jurisdiction over each Defendant, in that each Defendant

conducts significant business in Illinois and this judicial district, and the acts and events giving

rise to this lawsuit of which each Defendant stands accused were undertaken in Illinois and this



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judicial district. In addition, each Defendant has offered to sell and ship infringing products into

this judicial district.

                                        THE PLAINTIFF

        12.       The USOPC serves as both the National Olympic Committee (“NOC”) and the

National Paralympic Committee for the United States. In its role as NOC, the USOPC promotes

the tenets of Olympism, as embodied in the Olympic Charter. Such tenets include the practice of

sport without discrimination, and competition with a spirit of goodwill, solidarity, and fair play.

The USOPC serves as a steward for the Olympic and Paralympic movements in the United States

and is responsible for fielding U.S. teams for the Olympic, Paralympic, Youth Olympic, Pan

American, and Parapan American Games.

        13.      The USOPC exists to empower Team USA athletes to achieve sustained

competitive excellence and well-being. Approximately 82% of the USOPC’s budget has a direct

impact on its mission of supporting athletes via a variety of programs for both athletes and their

National Governing Bodies. In addition to performance grants and rewards, additional support is

provided in the form of training facilities, sports medicine and science, coaching education, health

insurance, promotional opportunities, education and career services, outfitting and travel, and safe

sport and anti-doping programming.

        14.      Additionally, the USOPC oversees the process by which U.S. cities bid to host the

Olympic and Paralympic Games, the Youth Olympic Games, or the Pan and Parapan American

Games, while also playing a supporting role in the bid processes for hosting a myriad of other

international competitions. Further, the USOPC approves the U.S. trials sites and procedures for

the Olympic, Paralympic, Youth Olympic, Pan American, and Parapan American Games team

selections.




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       15.     As set forth in the Olympic Charter, the USOPC is obligated to protect Olympic

intellectual property in the United States for the benefit of the Olympic Movement. In recognition

and furtherance of the scope of the USOPC’s responsibilities and undertakings, Congress granted

the USOPC the exclusive right to use and control the use of Olympic terminology and imagery

within the United States. See The Ted Stevens Olympic and Amateur Sports Act, 36 U.S.C. §

220506(a).

       16.     The Ted Stevens Act authorizes the USOPC to file a civil action against the

unauthorized use “for the purpose of trade, to induce the sale of any goods or services, or to

promote any theatrical exhibition, athletic performance, or competition…[of] any trademark, trade

name, sign, symbol, or insignia falsely representing association with, or authorization by” the

USOPC or its affiliates. 36 U.S.C. § 220506(c).

       17.     The intent of Congress in granting the USOPC exclusivity over the Olympic brand

was to generate revenue to finance the United States’ involvement in the Olympic Games.

Although Congress charged the USOPC with the responsibility to finance U.S. participation in the

Olympics, the USOPC does not receive financial assistance from the United States Government.

See U.S. Olympic Comm. v. Intelicense Corp., S.A., 737 F.2d 263, 266 (2d Cir. 1984) (“the USOC

is the only NOC [National Olympic Committee] that does not receive formal financial assistance

from the Government” (emphasis added)).

       18.     As the United States Supreme Court has explained, the unambiguous intent of

Congress in granting the USOPC exclusivity over the Olympic brand is to generate revenue to

finance the United States’ involvement in the Olympic Games. See San Francisco Arts & Athletics,

Inc. v. U.S. Olympic Comm., 483 U.S. 522 (1987). “[I]t is clear that the Congressional intent in

enacting [the Act] was to promote the United States Olympic effort by entrusting the USOC with




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unfettered control over the commercial use of Olympic-related designations” to “facilitate the

USOC’s ability to raise those financial resources from the private sector that are needed to fund

the United States Olympic Movement.” Intelicense Corp., 737 F.2d at 266.

       19.     The USOPC raises the money it needs to operate by, in large part, licensing use of

its intellectual property to sponsors and licensees. These legitimate license fees pay to house, feed,

train, and otherwise support U.S. Olympic athletes, and finance this country’s participation in the

Olympic Games.

       20.     Plaintiff owns several federal trademark registrations on the Principal Register,

including the following registrations (Exhibit 1):

         Trademark                                      Registration No.

         OLYMPIC                                        968,566; 2,777,890; 4,841,553

         TEAM USA                                       2,455,565; 2,774,352; 3,848,800;
                                                        4,368,709; 4,368,710; 4,368,411;
                                                        4,368,713; 4,368,714; 4,372,689;
                                                        4,867,243; 4,867,244
         TOKYO 2020                                     4,662,320

                                                        5,216,935




                                                        5,743,245




         BEIJING 2022                                   5,802,984

         PARIS 2024                                     6,050,531




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                                                        6,383,408




       21.      Plaintiff’s use and registrations of the Olympic Trademarks create trademark rights

in the Olympic Trademarks that are subject to enforcement under the Ted Stevens Act and the

Lanham Act.

       22.      Plaintiff’s brand, symbolized by the Olympic Trademarks, is a recognized symbol

of high-quality merchandise. The Olympic Trademarks are distinctive and identify the

merchandise as goods from the Plaintiff. The registrations for the Olympic Trademarks constitute

prima facie evidence of their validity and of Plaintiff’s exclusive right to use the Olympic

Trademarks pursuant to 15 U.S.C. § 1057 (b).

       23.      The Olympic Trademarks have been continuously used and never abandoned.

       24.      Plaintiff has expended substantial time, money, and other resources in developing,

advertising, and otherwise promoting the Olympic Trademarks. As a result, products bearing the

Olympic Trademarks are widely recognized and exclusively associated by consumers, the public,

and the trade as being products sourced from Plaintiff.

                                       THE DEFENDANTS

       25.      Defendants are individuals and business entities who, upon information and belief,

primarily reside in the People’s Republic of China or other foreign jurisdictions. Defendants

conduct business throughout the United States, including within Illinois and in this judicial district,

through the operation of the fully interactive commercial websites and online marketplaces

operating under the Defendant Internet Stores. Defendants facilitate sales by designing the

Defendant Internet Stores so that they appear to unknowing consumers to be authorized online



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retailers, outlet stores, or wholesalers selling genuine Olympic Products. Each Defendant targets

the United States, including Illinois, and offered to sell and, on information and belief, sold, and

continues to sell counterfeit Olympic Products to consumers within the United States, including

Illinois and in this judicial district.

                         THE DEFENDANTS’ UNLAWFUL CONDUCT

        26.      The success of the Olympic brand has resulted in its significant counterfeiting.

Defendants conduct their illegal operations through fully interactive commercial websites hosted

on various eCommerce sites. Each Defendant targets consumers in the United States, including the

State of Illinois, and offered to sell and, on information and belief, sold and continues to sell

counterfeit products that violate Plaintiff’s intellectual property rights (“Counterfeit Products”) to

consumers within the United States, including the State of Illinois.

        27.     The Defendant Internet Stores intentionally conceal their identities and the full

scope of their counterfeiting operations in an effort to deter Plaintiff from learning Defendants’

true identities and the exact interworking of Defendants’ illegal counterfeiting operations. Through

their operation of the Defendant Internet Stores, Defendants are directly and personally

contributing to, inducing, and engaging in the sale of counterfeit products as alleged, oftentimes

as partners, co-conspirators, and/or suppliers. Upon information and belief, Defendants are an

interrelated group of counterfeiters working in active concert to knowingly and willfully

manufacture, import, distribute, offer for sale, and sell counterfeit products.

        28.     Upon information and belief, at all times relevant hereto, the Defendants in this

action have had full knowledge of Plaintiff’s ownership of the Olympic Trademarks, including its

exclusive right to use and license such intellectual property and the goodwill associated therewith.




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       29.      Defendants often go to great lengths to conceal their identities by often using

multiple fictitious names and addresses to register and operate their massive network of Defendant

Internet Stores. Defendants also appear to intentionally omit accurate contact information when

registering their respective stores. Upon information and belief, Defendants regularly create new

websites and online marketplace accounts on various platforms using at least the identities listed

in Schedule A to the Complaint, as well as other unknown fictitious names and addresses. Such

Defendant Internet Store registration patterns are one of many common tactics used by the

Defendants to conceal their identities, the full scope and interworking of their massive

counterfeiting operation, and to avoid being shut down.

       30.     The counterfeit Olympic Products for sale in the Defendant Internet Stores bear

similarities and indicia of being related to one another, suggesting that the counterfeit Olympic

Products were manufactured by and come from a common source and that, upon information and

belief, Defendants are interrelated. The Defendant Internet Stores also include other notable

common features, including use of the same store name registration patterns, unique shopping cart

platforms, accepted payment methods, check-out methods, metadata, illegitimate SEO tactics,

HTML user-defined variables, lack of contact information, identically or similarly priced items

and volume sales discounts, similar hosting services, similar name servers, and the use of the same

text and images.

       31.     In addition to operating under multiple fictitious names, Defendants in this case and

defendants in other similar cases against online counterfeiters use a variety of other common tactics

to evade enforcement efforts. For example, counterfeiters like Defendants will often register new

online marketplace accounts under new aliases once they receive notice of a lawsuit.

Counterfeiters also often move website hosting to rogue servers located outside the United States




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once notice of a lawsuit is received. Rogue servers are notorious for ignoring takedown demands

sent by brand owners. Counterfeiters also typically ship products in small quantities via

international mail to minimize detection by U.S. Customs and Border Protection. A 2021 U.S.

Customs and Border Protection report on seizure statistics indicated that e-commerce sales

accounted for 13.3% of total retail sales with second quarter of 2021 retail e-commerce sales

estimated at $222.5 billion. U.S. Customs and Border Protection, Intellectual Property Right

Seizure Statistics, FY 2021 (https://www.cbp.gov/sites/default/files/assets/documents/2022-

Sep/202994%20-%20FY%202021%20IPR%20Seizure%20Statistics%20BOOK.5%20-

%20FINAL%20%28508%29.pdf) at 23. A true and correct copy of CBP’s FY 2021 report is

attached hereto as Exhibit 4. In FY 2021, there were 213 million express mail shipments and 94

million international mail shipments. Id. Nearly 90 percent of all intellectual property seizures

occur in the international mail and express environments. Id. at 27. The “overwhelming volume

of small packages also makes CBP’s ability to identify and interdict high risk packages difficult.”

Id. at 23.

        32.    Further, counterfeiters such as Defendants typically operate multiple credit card

merchant accounts and third-party accounts, such as, without limitation, PayPal, Inc. ("PayPal")

accounts, behind layers of payment gateways so that they can continue their operation in spite of

Plaintiff’s enforcement efforts. Upon information and belief, Defendants maintain off-shore bank

accounts and regularly move funds from their PayPal or other payment processor accounts to off-

shore bank accounts outside the jurisdiction of this Court. Indeed, analysis of PayPal transaction

logs from previous similar cases indicates that offshore counterfeiters regularly move funds from

U.S.-based PayPal accounts to China-based bank accounts outside the jurisdiction of this Court.




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       33.     Defendants’ use of the Olympic Trademarks on or in connection with the

advertising, marketing, distribution, offering for sale, and sale of the counterfeit products is likely

to cause and caused confusion, mistake, and deception by and among consumers and is irreparably

harming Plaintiff. Defendants have manufactured, imported, distributed, offered for sale, and sold

counterfeit products using the Olympic Trademarks and continue to do so.

       34.     Defendants, without authorization or license from Plaintiff, knowingly and

willfully used and continue to use the Olympic Trademarks in connection with the advertisement,

offer for sale and sale of the counterfeit products, through, inter alia, the internet. The counterfeit

products offered for sale by the Defendant Internet Stores are not genuine Olympic Products.

Plaintiff did not manufacture, inspect, or package the counterfeit products and did not approve the

counterfeit products for sale or distribution. The Defendant Internet Stores offer shipping to the

United States, including Illinois, and, on information and belief, each Defendant has sold

counterfeit products into the United States, including Illinois.

       35.     Upon information and belief, Defendants will continue to register or acquire listings

for the purpose of selling counterfeit goods that infringe upon the Olympic Trademarks unless

preliminarily and permanently enjoined.

       36.     Defendants’ use of the Olympic Trademarks in connection with the advertising,

distribution, offering for sale, and sale of counterfeit Olympic Products, including the sale of

counterfeit Olympic Products into Illinois, is likely to cause and has caused confusion, mistake,

and deception by and among consumers and is irreparably harming Plaintiff.

                              COUNT I
 VIOLATION OF THE TED STEVENS OLYMPIC AND AMATEUR SPORTS ACT (36
                           U.S.C. § 220506)




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       37.      Plaintiff repeats and incorporates by reference herein its allegations contained in

the above paragraphs of this Complaint.

       38.     Pursuant to The Ted Stevens Olympic and Amateur Sports Act, 36 U.S.C.

§220506(c)(4), the USOPC may file a civil action against a person for the remedies provided in

the Lanham Act if the person, without the consent of the USOPC, uses for the purpose of trade, to

induce the sale of any goods or services, or to promote any theatrical exhibition, athletic

performance, or competition, any trademark, trade name, sign, symbol, or insignia falsely

representing association with, or authorization by, the USOPC or its affiliates.

       39.     As described above, Defendants are and intend to continue engaging in the

unauthorized use in commerce of counterfeit imitations of the registered Olympic Trademarks in

connection with the sale, offering for sale, distribution, and/or advertising of infringing goods,

thereby falsely representing association with or authorization by Plaintiff, its affiliates, and/or the

Olympic Games.

       40.     Defendants’ use of the Olympic Trademarks in connection with their counterfeit

Olympic Products is likely to cause confusion, mistake, and deception among consumers as to the

origin and quality of the products bearing counterfeit versions of the Olympic Trademarks, as

consumers are likely to believe that Defendants’ products and activities are authorized by, licensed

or endorsed by, or associated with Plaintiff, its affiliates, and/or the Olympic Games.

       41.     Defendants’ conduct has been and continues to be willful, deliberate, and in bad

faith, with malicious intent to trade on the goodwill associated with the Olympic Trademarks.

       42.     By their conduct, Defendants have caused Plaintiff damage and irreparable injury

for which it has no adequate remedy at law, and Defendants will continue to do so unless restrained




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and enjoined by this Court from further infringing the Olympic Trademarks and confusing the

public.

          43.   On information and belief, Defendants have and will continue to receive revenues

and profits as a result of their infringing use, to which Defendants are not entitled, and Plaintiff

has suffered damages as a result of Defendants’ unlawful conduct, for which Defendants are

responsible.

                            COUNT II
     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

          44.   Plaintiff repeats and incorporates by reference herein its allegations contained in

the above paragraphs of this Complaint.

          45.   This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of the registered Olympic Trademarks in

connection with the sale, offering for sale, distribution, and/or advertising of infringing goods. The

Olympic Trademarks are highly distinctive. Consumers have come to expect the highest quality

from Plaintiff’s products provided under the Olympic Trademarks.

          46.   Defendants have sold, offered to sell, marketed, distributed, and advertised, and are

still selling, offering to sell, marketing, distributing, and advertising products in connection with

the Olympic Trademarks without Plaintiff’s permission.

          47.   Plaintiff is the exclusive owner of the Olympic Trademarks. Plaintiff’s United

States Registrations for the Olympic Trademarks (Exhibit 1) are in full force and effect. Upon

information and belief, Defendants have knowledge of Plaintiff’s rights in the Olympic

Trademarks and are willfully infringing and intentionally using counterfeits of the Olympic

Trademarks. Defendants’ willful, intentional, and unauthorized use of the Olympic Trademarks is




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likely to cause and is causing confusion, mistake, and deception as to the origin and quality of the

counterfeit goods among the general public.

       48.      Defendants’ activities constitute willful trademark infringement and counterfeiting

under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       49.      Plaintiff has no adequate remedy at law, and if Defendants’ actions are not

enjoined, Plaintiff will continue to suffer irreparable harm to its reputation and to the goodwill of

its well-known Olympic Trademarks.

       50.      The injuries and damages sustained by Plaintiff have been directly and proximately

caused by Defendants’ wrongful reproduction, use, advertisement, promotion, offering to sell, and

sale of counterfeit Olympic Products.

                                 COUNT III
                 FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

       51.      Plaintiff repeats and incorporates by reference herein the allegations contained in

the above paragraphs of this Complaint.

       52.      Defendants’ promotion, marketing, offering for sale, and sale of counterfeit

Olympic Products created and is creating a likelihood of confusion, mistake, and deception among

the general public as to the affiliation, connection, or association with Plaintiff or the origin,

sponsorship, or approval of Defendants’ counterfeit Olympic Products by Plaintiff.

       53.      By using the Olympic Trademarks in connection with the sale of counterfeit

Olympic Products, Defendants create a false designation of origin and a misleading representation

of fact as to the origin and sponsorship of the counterfeit Olympic Products.

       54.      Defendants’ false designation of origin and misrepresentation of fact as to the

origin and/or sponsorship of the counterfeit Olympic Products to the general public is a willful

violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125.



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       55.       Plaintiff has no adequate remedy at law and, if Defendants’ actions are not enjoined,

Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its brand.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

       1) That Defendants, their affiliates, officers, agents, employees, attorneys, and all persons

acting for, with, by, through, under, or in active concert with them be temporarily preliminarily,

and permanently enjoined and restrained from:

       a. using the Olympic Trademarks or any reproductions, counterfeit copies, or colorable

             imitations thereof in any manner in connection with the distribution, marketing,

             advertising, offering for sale, or sale of any product that is not a genuine Olympic

             Product or is not authorized by Plaintiff to be sold in connection with the Olympic

             Trademarks;

       b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

             Olympic Product or any other product produced by Plaintiff that is not Plaintiff’s or

             not produced under the authorization, control, or supervision of Plaintiff and approved

             by Plaintiff for sale under the Olympic Trademarks;

       c. committing any acts calculated to cause consumers to believe that Defendants’

             counterfeit Olympic Products are those sold under the authorization, control, or

             supervision of Plaintiff, or are sponsored by, approved by, or otherwise connected with

             Plaintiff;

       d. further infringing the Olympic Trademarks and damaging Plaintiff’s goodwill;

       e. otherwise competing unfairly with Plaintiff in any manner;




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       f. shipping, delivering, holding for sale, transferring or otherwise moving, storing,

           distributing, returning, or otherwise disposing of, in any manner, products or inventory

           not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or offered for

           sale, and which bear any Plaintiff’s trademarks, including the Olympic Trademarks, or

           any reproductions, counterfeit copies, or colorable imitations thereof; and

       g. using, linking to, transferring, selling, exercising control over, or otherwise owning the

           Defendant Internet Stores, or any other online marketplace account that is being used to

           sell or is the means by which Defendants could continue to sell counterfeit Olympic

           Products.

       2) That Defendants, within fourteen (14) days after service of judgment with notice of entry

thereof upon them, be required to file with the Court and serve upon Plaintiff a written report under

oath setting forth in detail the manner and form in which Defendants have complied with paragraph 1,

a through g, above;

       3) Entry of an Order that, upon Plaintiff’s request, those in privity with Defendants and

those with notice of the injunction, including any online marketplaces, social media platforms,

Facebook, YouTube, LinkedIn, Twitter, Internet search engines such as Google, Bing, and Yahoo,

web hosts for the Defendant Internet Stores, and online marketplace account registrars, shall:

       a. disable and cease providing services for any accounts through which Defendants

           engage in the sale of counterfeit Olympic Products using the Olympic Trademarks,

           including any accounts associated with the Defendants listed on Schedule A;

       b. disable and cease displaying any advertisements used by or associated with Defendants

           in connection with the sale of counterfeit Olympic Products using the Olympic

           Trademarks; and



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       c. take all steps necessary to prevent links to the Defendant Internet Stores identified on

          Schedule A from displaying in search results, including, but not limited to, removing

          links to the Defendant Internet Stores from any search index;

       4) That Defendants account for and pay to Plaintiff all profits realized by Defendants by

reason of Defendants’ unlawful acts herein alleged, and that the amount of damages for

infringement of the Olympic Trademarks be increased by a sum not exceeding three times the

amount thereof as provided by 15 U.S.C. § 1117;

       5) In the alternative, that Plaintiff be awarded statutory damages pursuant to 15 U.S.C. §

1117(c)(2) of $2,000,000 for each and every use of the Olympic Trademarks;

       6) That Plaintiff be awarded its reasonable attorneys’ fees and costs;

       7) Award any and all other relief that this Court deems just and proper.

DATED: September 17, 2024                                   Respectfully submitted,

                                                    /s/ Keith A. Vogt
                                                    Keith A. Vogt (Bar No. 6207971)
                                                    Keith Vogt, Ltd.
                                                    33 West Jackson Boulevard, #2W
                                                    Chicago, Illinois 60604
                                                    Telephone: 312-971-6752
                                                    E-mail: keith@vogtip.com

                                                    ATTORNEY FOR PLAINTIFF




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